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                          16   CV 0r92s (LTS-SN)

                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF NEW YORK

                          CAPITOL PEDICABS, LLC and BOURAMA
                          CAMERA,
                                                                        Plaintifß,
                                                   -against-

                          THE CITY OF NEW YORK, MAYOR WILLIAM DE
                          BLASIO, in his official and individual capacities, THE
                          DEPARTMENT OF CONSUMER AFFAIRS,
                          DEPARTMENT OF CONSUMER AFFAIRS
                          COMMISSIONER JULIE MENIN, in her official and
                          individual capacities, THE NEW YORK CITY PARKS
                          DEPARTMENT, NEV/ YORK CITY PARKS
                          DEPARTMENT COMMISSIONER MITCHELL
                          SILVER, in his individual and official capacities, THE
                          NEV/ YORK POLICE DEPARTMENT, NEW YORK
                          POLICE DEPARTMENT COMMISSIONER WILLIAM
                          BRATTON, in his official and individual capacities,
                          DCA INSPECTOR ALEXANDER GERSHKOVICH,
                          and POLICE or PARKS ENFORCEMENT OFFICERS
                          and/or DCA INSPECTORS JOHN DOES and JANE
                          DOES in their individual capacities,
                                                                      Defendants.


                          CITY DEFENDANTS' MEMORANDUM OF LAW
                          IN SUPPORT OF THEIR MOTION TO DISMISS
                          THE COMPLAINT


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                                     Matter No. : 201 6-007954
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LINITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                       ------ x
CAPITOL PEDICABS, LLC and BOUITAMA CAMERA,

                                                  Plaintiffs,
                                                                 16   CV 0192s (LTS-SN)
                          -against-
                                                                 (filed by ECF)
THE CITY OF NEV/ YORK, MAYOR V/ILLIAM DE
BLASIO, in his official and individual capacities, THE
DEPARTMENT OF CONSUMER AFFAIRS,
DEPARTMENT OF CONSUMER AFFAIRS
COMMISSIONER JULIE MENIN, in her official and
individual capacities, THE NEW YORK CITY PARKS
DEPARTMENT, NEW YORK CITY PARKS
DEPARTMENT COMMISSIONER MITCHELL SILVER,
in his individual and offrcial capacities, THE NEW YORK
POLICE DEPARTMENT, NEW YORK POLICE
DEPARTMENT COMMISSIONER V/ILLIAM
BRATTON, in his official and individual capacities, DCA
INSPECTOR ALEXANDER GERSHKOVICH, and
POLICE or PARKS ENFORCEMENT OFFICERS andlor
DCA INSPECTORS JOHN DOES and JANE DOES in
their individual capacities,

                                               Defendants.
                                                             x

               DEFENDANTS'MEMORANDUM OF LAW IN SUPPORT
        OF THEIR MOTION TO DISMISS THE SECOND AMENDED COMPLAINT

                Defendants, the City of New York (hereinafter "the City"), Mayor   Bill   de Blasio,3

the Department of Consumer Affairs (hereinafter "DCA"), DCA Commissioner Julie Menin,a the

New York City Parks Department (hereinafter "Parks Department"), Parks                Department

Commissioner Mitchell Silver, the New York Police Department (hereinafter "NYPD"), former



3The
     Complaint mistakenly names the Mayor as "William De Blasio," however, his correct name
is "Bill de Blasio."
a
    Julie Menin is no longer the Commissioner of DCA.
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Commissioner of the New York City Police Department, William Bratton and DCA Inspector

Alexander Gershkovich (collectively "City Defendants"), by their attorney Zachary Vy'. Carter,

Corporation Counsel of the City of New York, submit this memorandum of law in support of

their motion to dismiss the Second Amended Complaint (attached as Exhibit                 "8" to the
Declaration of Keni A. Devine dated October 12, 2016 submitted herewith6) pursuant to Rule

12(bX6) of the Federal Rules of Civil Procedure (hereinafter "Rule 12(bX6)").

                                     PRELIMINARY STATEMENT

                 Plaintiffs, Capitol Pedicabs, LLC and Bourama Camera, bring this action pursuant

to 42 U.S.C. $ 1983 against the City Defendants and Police or Parks Enforcement Offrcers

and/or DCA Inspectors John Does and Jane Does.7

                 Plaintiffs allege    in their   Second Amended Complaint that Defendants have

violated Plaintiffs' Fourth and Fourteenth Amendment rights by stopping pedicabs without

reasonable articulable suspicion and pursuant to policies, practices and/or customs devised by the

City, de Blasio, Bratton, Menin and Silver and that the City, de Blasio, Bratton, Menin and Silver

have acted with deliberate indifference to the constitutional rights of the pedicab drivers and

pedicab business owners by: (a) failing to properly screen, train, and supervise Officers, (b)

inadequately monitoring Officers and their practices in stopping and ticketing pedicab drivers,




6
    All exhibits referenced herein   are attached to the Declaration of Kerri A. Devine, dated October
12, 20 7 6, submitted herewith.

7
    As of the date of this Motion, Police or Parks Enforcement Officers andlor DCA          Inspectors
John Does and Jane Does have not been identified and in any event, there are no facts alleged in
the Amended Complaint regarding the specific involvement of said officers and inspectors and
thus the Amended Complaint fails to state a claim as to them.




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(c) failing to sufficiently discipline Officers who engage in constitutional abuses, and (d)

encouraging, sanctioning and failing to rectify the Officers' unconstitutional practices.

                While the Second Amended Complaint is largely lacking in factual specifics, it

appears   that Plaintiffs are challenging the stopping of Plaintiffs' pedicabs pursuant to safety

checkpoints set up for routine compliance inspections of pedicabs conducted by DCA Inspectors,

NYPD Officers and Parks Departmenl personnel.

                As set forth in detail below, Defendants move pursuant to Rule 12(b)(6)            to

dismiss the Amended Complaint       in its entirety, and with prejudice, on the ground that:      (1)

Plaintiffs have failed to sufficiently plead a claim for violation of their Fourth Amendment

rights, (2) Plaintiffs have failed to sufficiently plead a claim for violation of their Fourteenth

Amendment.rights, (3) Plaintiffs cannot establish a claim for municipal liability, (4) Plaintiffs

have failed to state a claim for supervisory liability as a matter of law, (5) Plaintiffs have failed

to allege the personal involvement of the individual Defendants, (6) Defendant Gershkovich is

entitle to qualified immunity, (7) DCA, the Parks Department and NYPD are not suable entities,

(8) the Second Amended Complaint is in part, time-barred, and (9) Plaintiffs fail to state a claim

that the regulation of pedicabs violates state law.
                                                      .


                   CERTIFICATION OF BEST EFFORTS TO RESOLVE

                By letter dated June 3,2016, in accordance with Section A(2XbXiXA) of Judge

Laura Taylor Swain's Individual Practices, City Defendants notified Plaintiffs of their intention

to move to dismiss the Complaint (Exhibit "C") in this action pursuant to Rule 12(b)(6)          and

outlined City Defendants' legal and factual positions on the matter. Pursuant to a Stipulation

entered into between the parties on June 29,2016, signed by Judge Swain, Plaintiffs served the

Amended Complaint, dated July 5,2016, on City Defendants, with the exception of William

Bratton, and City Defendants sent another letter informing Plaintiffs         of City   Defendants'

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intention to move to dismiss the Amended Complaint pursuant to Rule 12(bX6). On September

12,2016, Plaintiffs sent a letter to City Defendants stating that they believe they plead, "ample

facts to meet the pleading requirements set forth in Rule 8(a)" and outlining their legal and

factual positions. City Defendants then moved to dismiss the Amended Complaint. By letter

motion on February 7,2077, Plaintiffs sought leave to file a Second Amended Complaint which

Defendants opposed. On February 13, 2077,Judge Swain grauted Plaintiffs'request to file a

Second Amended Complaint and directed Plaintiffs to       file it by February 20,2017 Defendants to

answer or re-new their motion to dismiss by March 13,2017. City Defendants now move to

dismiss the Second Amended Complaint.s

                                           ARGUMENT

                                    STANDARD OF REVIE\il

               A pleading may be dismissed for "failure to state a claim upon which relief can be

granted." Rule 12(b)(6). "To survive a motion to dismiss, a complaint must contain sufficient

fäctual matter, accepted as true, 'to state a claim to relief that is plausible on its face'." Ashcroft

v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570

(2007)). In other words, "bald assertions and conclusions of law will not suffice." Leeds v

Meltz,85 F.3d 51, 53 (2d Cir. 1996). A party's "obligation to provide the grounds of his

entitlement to relief requires more than labels and conclusions, and a formulaic recitation of the

elements of a cause of action   will not do." Twombly, 550 U.S. at 555 (internal quotations        and



8
   On Feb.u ary 20,2017, according to the Civil Docket for the instant case, Plaintiffs attempted to
file the Second Amended Complaint, however, a filing error occurred because the pleading was
deficient. There have been no additional filings by Plaintiffs. Defendants, therefore, address
their motion to dismiss to the version of the Second Amended Complaint attached to Plaintiffs'
request for leave to file the Second Amended Complaint.




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citations omitted); see also, In re Flevatnr Antifrrrct T.ifio      502 F.3d 47, 50 (2d Cir. 2007)

("While fBell Atlantic] does not require heightened fact pleading of specifics, it does require

enough facts to nudge   plaintiffls claims across the line from conceivable to plausible."). A court

should therefore dismiss a complaint when        it   appears that a plaintiff has failed   to plead   a


plausible claim of relief. See Spagnola v. Chubb Corp. , 574 F.3d 64, 67 (2d Cir.2009).

               In deciding a motion to dismiss, a court will consider "the complaint, the answer,

any written documents attached to them, and any matter of which the court can take judicial

notice for the factual background of the case.'? Roberts v. Babkiewicz, 582 F.3d 418, 419 (2d

Cir. 2009). "A complaint is deemed to include any written instrument attached to              it   as an

exhibit, materials incorporated in it by reference, and documents that, although not incorporated

by reference, are 'integral' to the complaint." Sira v. Morton, 380 F.3d 57,67 (2d Cir.2004)

(citations omitted) (quoting Chambers v. Time Wamer. Inc.,282 F.3d 147, 153 (2d Cir. 2002));

see also, Abdul-Rahman    v. The City of New York. 10 Civ.        2778   (ILG) (RML), 2012 U.S. Dist.

LEXIS 45653, *6-7 (E.D.N.Y. Mar.27,2012) (quoting Sira,380 F.3dat67). Additionally,"u

district court may rely on matters of public record in deciding a motion to dismiss under Rule

12(b)(6),'including arrest reports, criminal complaints, indictments, and criminal disposition

data. Vasquez v. City of New York,99 Civ.4606 (DC),2000 U.S. Dist LEXIS 8887, at *3, n. I

(S.D.N.Y. June29,2000) (citations omitted); see also, Abdul-Rahman,2012 U.S. Dist. LEXIS

45653, *6-10 (internal citations omitted). Finally, "courts routinely take judicial notice            of

documents frled in other courts,...not for the truth of the matters asserted in other litigation, but

rather to establish the fact of such litigation and related   filings." Kramer v. Time Warner. Inc.,

937   F.2d761,174 (2dCir.l99l);     see also, Nealy    v. Berger, 08 CV 1322 (JFB),2009 U.S. Dist.

LEXIS 20g3g, at *6,n. 3 (E.D.N.Y. Mar. 16,2Xlg)(taking judicial notice of court filings).



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                                                 POINT   I
                        PLAINTIFFS' FOURTH AMENDMENT
                        CLAIMS MUST BE DISMISSED

                 Plaintiffs fail   to   sufficiently plead   a claim for a violation of their Fourth
Amendment       rights. Despite the       conclusory allegations throughout the Second Amended

Complaint that unreasonable, unconstitutional stops of pedicabs are "rampant" in New York

City, the Second Amended Complaint is completely lacking in any factual content of any such

stops. Of the ninety-six paragraphs in the Second Amended Complaint, only paragraphs                48

through   5l   appear to marginally address a specific stop      of a pedicab. Specifically, Plaintiffs

refer to a hearing held on a notice of hearing issued to Plaintiff Bourama Camera in which the

issuing inspector, Defendant Alexander Gershkovich, testified that he was instructed to "stop all

pedicabs." The facts surrounding the actual stop are entirely omitted. (Exhibit "B.")

                 Beyond those allegations, the Second Amended Complaint contains only general,

conclusory assertions that pedicabs have been stopped without reasonable suspicion and

probable cause. Such bald assertions are insufficient to satisfy the requirements of Iqbal and

Twombl)¡ and accordingly, the Plaintiffs' Fourth Amendment claims must be dismissed.

                 Furthermore, the stop cited by Plaintiffs was entirely lawful. In support of their

claimed constitutional violation of their Fourth Amendment rights, Plaintiffs rely almost entirely

on the fact that at the administrative hearing concerning the notice of hearing that Inspector

Gershkovich issued     to Plaintiff Camera on September 14, 2013 (hereinafter "administrative

hearing"), Inspector Gershkovich testified that, "he was instructed by his supervisor to 'stop all

pedicabs."' Exhibit "8"    ar   fl 48. The transcript from said hearing reveals that on September   14,


2013, checkpoints were set up at several locations in Central Park at which DCA Inspectors,

Parks Depaftment Personnel and NYPD Officers were conducting compliance inspections of


                                                     6
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pedicabs. See Transcript     of hearing held on April 2I, 2014 (Exhibit "4")                       (hereinafter

"Transcript") at pp. 25, 38,39-40. Inspector Gershkovich testified that on that day they were

instructed to stop. all pedicabs. Exhibit   "A" at pp. 69-70. He testified that     he worked      with Parks

Department personnel at the checkpoint and that the Parks Department personnel stopped the

pedicabs and he conducted the inspections. Exhibit           "A"   at p. 26-   27. Since,   understandably,

Inspector Gershkovich and the Parks Department personnel he was working with could not stop

every pedicab, he testified that they stopped as many as they could and that the ones they were

unable to stop were stopped at other inspection locations. Exhibit        "A" atpp.33-34,42. To keep

track of which pedicabs had been inspected, every pedicab stopped pursuant to the compliance

inspection was issued either a notice of hearing or a certificate of inspection. Exhibit             "4"   at p.

34.

               Thus, the single allegation relied on by Plaintiffs, i.e., that Defendant Gershkovich

was ordered to "stop all pedicabs," belies their claim that the policy and practice was not

pursuant to uniform procedure or objective standard and was based only on the inspector's

arbitrary discretion. To the contrary, an order to "stop all pedicabs" is nondiscriminatory and

nondiscretionary. People v. Scott, 63 N.Y.2d 518 (1984); People v. Serrano ,233 A.D.2d 170 (1't

Dep't 1996). Therefore, Plaintiffs' Fourth Amendment Claims fail           as à matter   of law.

                                               POINT    II
                       PLAINTIFFS' FOURTEENTH AMENDMENT
                       CLAIMS MUST BE DISMISSED

               The Second Amended Complaint contains only conclusory allegations that

pedicab drivers are stopped and ticketed in violation of the Equal Protection Clause and therefore

their Fourteenth Amendment claims also fail to satisfy the standards set forth in Iqbal and

Twombly and therefore must be dismissed. While it is difficult to discern how Plaintiffs allege


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that their Fourteenth Amendment rights were violated, for the purposes of this motion, City

Defendants   will interpret their   naked assertions that they were denied Equal Protection as a

Fourteenth Amendment "class of one" claim.

                To sufficiently allege a "class of one" violation of the Equal Protection Clause,

Plaintiffs must show, "(1) intentional disparate treatment, (2) from other similarly situated

individuals, (3) without a rational basis for the difference in treatment, and (4) without otherwise

claiming membership in a particular class or group." Witt v. Vill. of Mamaroneck, 2015 U.S.

Dist. LEXIS 39669 (S.D.N.Y. 2015) citing      Vill.    of V/illowbrook v. Olech, 528 U.S. 562 (2000).

The "similarly situated" requirement is a strict one. Plaintifß must show that,

                          .(i) no rational person could regard the
                        circumstances of the plaintiff to differ from those of
                        a comparator to a degree that would justify the
                        differential treatment on the basis of a legitimate
                       government policy; and (ii) the similarity in
                       circumstances and difference in treatment are
                       sufficient to exclude the possibility that the
                       defendant acted on the basis of a mistake      bside
                       Inc. v. Valentin, 468 F.3d 144, 159 (2d Cir.2006).

Essentially, they must be "prima facie identical" Neilson v. D'Angelis, 409 F.3d 100 (2d Cir.

2005) citing Purze v. Winthrop Harbor,286 F.3d 452 (lÏh Cir.2002).

               Plaintifß allege that they are similarly situated to for hire vehicle        passenger

transportation industries such as taxicabs and "livery for hire vehicles." Exhibit        "8" at 176.
Pedicabs, however, are not similarly situated, or "prima facie identical" to        for hire vehicles.

There are many significant distinctions. First, for hire vehicles have gasoline-powered engines,

unlike pedicabs. Other distinctions include the fact that the structure of a pedicab does not

provide the same protection to its passengers as for hire vehicles do and that pedicabs are

regulated by DCA while for hire vehicles are regulated by the Taxi and Limousine Commission.

Suffice it to say, it is clearly evident that pedicabs are not similarly situated to for hire vehicles.

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Accordingly, Plaintiffs' Equal Protection Claim must be dismissed. See Witt                v. Vill. of
Mamaroneck U.S. Dist. LEXIS 39669 (S.D.N.Y 2015).

               Even   if   the Court finds pedicabs and for hire vehicles to be sufficiently similar,

the Second Amended Complaint fails to establish that there was no rational basis for               the

difference in treatment.       It is entiràly   rational that pedicabs, which do not provide the safe

structure for its passengers that automobiles do, but, occupy the same streets as automobiles, in a

congested   city such as New York, would require safety checks distinct from automobiles.

Therefore, Plaintifß have failed to establish a "class of one" violation of the Equal Protection

Clause.

                                                 POINT    III
                        PLAINTIFFS'              MUNICIPAL LIABILITY
                        CLAIMS FAIL

               In order to prevail on their Section 1983 claims, the Plaintiffs must show that they

were denied a constitutional or federal statutory right and that the deprivation occurred under

color of state law. See 42 U.S.C. $ 1983; West v. Atkins, 487 U.S. 42, 48 (1988). As explained

in Monell v. Department of Social Services of the City of New York, 436 U.S. 658,694 (1978),

a plaintiff seeking to pursue a Section 1983 claim against the City of New York must prove a

municipal policy, custom, or practice to which a violation of his or her rights is attributable. See

also Shomo v. City of New York, 2009 U.S. App. LEXIS 23076, * l8 (2d Cir. 2009); Vann v.

City of New York, 72 F.3d 040, 1049 (2d Cir. 1995); Ricciuti v. New York City Transit Auth.,
                                1




941 F.2d 119, 122 (2d      Cir. 1991).

               It is well-understood that       a municipality cannot be held liable in a Section 1983

action for the alleged unconstitutional acts or misfeasance of its employees under â theory         of

respondeat superior. See Monell, 436 U.S. at 691; Roe.v. City of Waterbury, 542 F.3d 31,36



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(2d Cir. 2008). Instead, a causal link between the alleged violation and the municipal policy,

custom, or practice must be established. Vippolis v. Village of Haverstraw, T6S F.2d 40, 44 (2d

Cir. 1985), cert. denied, 480 U.S. 916 (1987) (citing Oklahoma City v. Tuttle, 471 U.S. 808, 824

n.8 (1985)). A plaintiff must show that the City, through its deliberate conduct, was the "moving

force" behind the alleged injury. Roe, 542 F.3d at            37   .



A.      Plaintiffs' claim for municipal liability must be dismissed because the Second
        Amended Complaint fails to sufficiently plead that Plaintiffs' constitutional rights
        were violated.

                 Defendants have failed to sufficiently plead that their constitutional rights were

violated and therefore their claim for municipal liability must        fail. To sufficiently plead a claim
for municipal liability pursuant to 42 U.S.C. $ 1983, plaintiff must plead a deprivation of              a


constitutional or statutory     right. Tieman v. City of Newburgh,2015 U.S. Dist. LEXIS            38703

(S.D.N.Y 2015). In the instant case, the Second Amended Complaint purports to allege that the

City is liable pursuant to 42 U.S.C $ 1983 for violations of Plaintiffs'Fourth and Fourteenth

Amendment rights resulting from the stopping and ticketing of their pedicabs without reasonable

suspicion or probable cause in an effort to drive pedicabs out of business. As set forth in Points I

and II, supra, Plaintiffs have failed to set forth any facts to sufficiently plead a violation of their

constitutional violation. Accordingly, Plaintiffs' claim for municipal liability based on violations

of their Fourlh and Fourteenth Amendment rights must be dismissed. City of Los Angeles v.

Heller. 475 U.S. 196, 199 (1986)         (if plaintiff   cannot show that his constitutional rights were

violated by a City actor, then there cannot be Monell liability); Easton v. Cit), of New York, 05

CV 1873 (FBXJMA) U.S. Dist. LEXIS 53519 at*74-75 (E.D.N.Y lune23,2009) ("Where a

municipal liability claim is based solely on the actions of a municipality's officers, as it is here,

tlie claim must fail   if   the individual defendants have not violated the plaintiff s constitutional

rights").

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B.      The conclusory assertions set forth in the Second Amended Complaint fail to
        sufficiently establish a claim for municipal liabitity

               The Second Amended Complaint is bereft of any factual content sufficient to state

a claim for municipal liability. "Threadbare recitals of the elements of a cause of action,

supported by mere conclusory statements, do not          suffice." Iqbal, 556 U.S. at 678 (citations

omitted.)

               While the Second Amended Complaint alleges that a custom or policy existed

based on a failure to train or supervise City personnel regarding the ticketing of pedicabs, the

Second Amended Complaint         is devoid of any specifics as to such custom or policy. Mere

conclusory assertions of the existence of a custom or policy are insufficient to make out a claim

under Monell. Tieman v. City of Newburgh,2015 U.S. Dist. LEXIS 38703 (S.D.N.Y 2015);

Triano v. Town of Harrison, 895 F. Supp. 2d 526,535; Gonzalez v. City-of New York , 2015

U.S. Dist. LEXIS 15180; Simms v. The City of New York, 480 Fed. Appx. 627 (2d Cir.2012);

Scalpi v. Town of East Fishkill, 2016 U.S. Dist. LEXIS 24697 (S.D.N.Y. 2016). Post Iqbal,

boilerplate allegations that a municipality failed to properly train or supervise employees are

insufficient to set forth a plausible claim against the City pursuant to 42 U.S.C. $ 1983.          See


Simms   v. City of New    York   ,   2071 U.S. Dist.   LEXIS ll5g4g (E.D.N.Y. 20ll) aff d 480        F.

App'* 627 (2d Cir.   2012).

               Furthermore, a claim for municipal liability under the theory of a failure to train is

subject to the "deliberate indifference" standard, which is a stringent one.        City of Canton v

Harris,489 U.S. 378, 388 (1989). This theory of liability is satisfied, "where     a   local government

is faced with a pattern of misconduct and does nothing, compelling the conclusion that the local

government has acquiesced        in or tacitly    authorized   its   subordinates' unlawful actions."

Reynolds v. Giuliani,506 F.3d 183,       l9l (2dCir.2007). Plaintiffs rely on only one instance in

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which a pedicab was stopped to support their claim under the failure to train theory which is

insufficient   to   demonstrate     a pattern of misconduct or to satisfy the stringent      deliberate

indifference standard.      A   single incident   of    alleged misconduct is typically insufficient to

establish municipal    liability.   See Dyno   v. Village of Johnson City,240 Fed. Appx. 432, 434,

2007 U.S. App. LEXIS 12283 (2d Cir. 2007) (citing Dwares v. City of New York,985 F..zd 94,

100 (2d Cir. 1993). Accordingly, Plaintiffs have failed              to sufficiently plead a claim for
municipal liability under the failure to train theory.




                                                POINT IV

                         THE   SECOND AMENDED COMPLAINT
                         FAILS TO STATE A CLAIM AGAINST DE
                         BLASIO, MENIN, SILVER AND BRATTON IN
                         TI{F',IR f)F'F'Il-I AI, f- A

                An action against       Defendants de Blasio, Menin, Silver and Bratton,       in   their

official capacities must be treated as an action against the City. Coon v. Town of Springfield,

404   F.3d 683 (2d Cir. 2005)(citing Brandon v. Holt, 469 U.S. 464, 471-73.) Accordingly,        as the

Second Amended Complaint fails           to state a claim against the City, for the reasons set forth

above, the Second Amended Complaint consequently fails to state a claim as to the Mayor and

agency commissioners in their official capacities.




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                                               POINT V

                                    42 U.S.C. $ 1983 CLAIMS
                          PLAINTIFFS',
                          AGAINST ALL OF THE DEFENDANTS
                          NAMED IN    THEIR INDIVIDUAL
                          CAPACITIES MUST BE DISMISSED
                          BECAUSE THEY          FAIL TO SUFFICIENTLY
                          ALLEGE               THEIR             PERSONAL
                          INVOLVEMENT

                The Second Amended Complaint fails to state a claim against all of the

Defendants named in their individual capacities in that it fails to sufficiently allege their personal

involvement. "It is well settled that, in orderto establish a defendant's individual liability in    a


suit brought under $ 1983, a plaintiff must show, inter alia, the defendant's personal involvement

in the alleged constitutional deprivation." Grullon v. City of New Haven, 720 F.3d 133 (2d Cir.

2013); Shomo v. City of New York,2009 U.S. App. LEXIS 23076,*17 (2dCir.2009); Colon v.

Couehlin, 58 F.3d 865, 873 (2d Cir. 1995).




A.     The Second Amended Complaint fails to state a claim against de Blasio, Menin,
       Silver and Bratton

                The Second Amended Complaint must be dismissed as to defendants de Blasio,

Menin, Silver and Bratton, who are all cument or former high-ranking officials, as the Second

Amended Complaint fails to allege that any of them were personally involved in any aspect of

the pedicab ticketing procedures that are at isque in this case. First, to state a claim under 42

U.S.C. $ 1983, Plaintiffs must show (1) that the conduct in question deprived them of a right,

privilege, or immunity secured by the Constitution or the laws of the United States, and (2) that

the acts were attributable in part to a person acting under color of state    law. See Dwares, 985

F.2d at 98.   "lt   is well settled in this Circuit that personal involvement of defendants in alleged



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constitutional deprivations is a prerequisite to an award of damages under $ 1983." Farrell v.

Burke, 449 F.3d 470,484 (2d Cir.2006). "[W]here the complaint names a defendant in the

caption but contains no allegations indicating how the defendant violated the law or injured the

plaintiff,    a   motion to dismiss the complaint in regard to that defendant should be granted." Dove

V    Fordham Univ        56 F. Supp . 2d 330,335 (S.D.N .Y . 1999) (quotations and citations omitted).

                     Moreover, allegations against high-ranking offìcials, such as the Mayor and

agency commissioners, are routinely dismissed where               a plaintiff fails to allege    personal

involvement on behalf of that official. Jackson v. County of Nassau, 07 CV 0245 (JFB) (AKT),

2009 U.S. Dist. LEXIS 11547, *7-10 (E.D.N.Y. Feb. 13,2009) (denying leave to amend to name

Nassau County Police Commissioner as a defendant where complaint was "devoid of specific

factual allegations" against him); Banington v. Johnson, 06 Civ. 2234 (SAS), 2006 U.S. Dist.

LEXIS 86354, *5-6 (S.D.N.Y. Nov. 27,2006) (dismissing claims against Commissioner Kelly

where complaint failed to allege that he was personally involved in the constitutional violation

holding that "[t]he mere fact that one defendant is . . . the Police Commissioner is insufficient to

support a finding of personal involvement."); Washingtort Sware Post No. 1212 v. City of New

York, 720F. Supp. 337,345-47 (S.D.N.Y. 1989), rev'd on other grounds,907 F.2d 1288 (2d Cir.

r   e90).

                     Here, Plaintiffs base their claims against Defendants de Blasio, Menin, Silver and

Bratton solely on their positions of authority and make no specific factual allegations whatsoever

as   to any involvement by them in the underlying incidents. Their positions of authority are

insufficient to sustain liability under 42 U.S.C. $ 1983. Black v. Coughlin,l6 F.3d 72 (2d Cir.

N.Y.        1996)   ("lAJ defèndant in a $ 1983 action may not be held liable for          damages for

constitutional violations merely because he held            a high position of authority.")     (citations




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omitted). Therefore, as the Second Amended Complaint fails to allege any personal involvement

by Defendants de Blasio, Menin, Silver or Bratton in any of the allegations, the             Second

Amended Complaint must be dismissed as to them.

                Additionally, as set forth in Points I through IV, supra, Plaintiffs have failed to

state a claim   for any constitutional violation or municipal liability, and accordingly, in     the

absence   of any of the same, they cannot sustain a claim for supervisory liability as against

Defendants de Blasio, Menin, Silver and Bratton. See, e.g., Williams v. City of New York,         l4

Civ. 5123 efRB),2015 U.S. Dist. LEXIS 94895, xl8-19 (S.D.N.Y. July 21,2015) (dismissing

plaintiff s claims for supervisory liability holding "[a]s discussed above, plaintiff has failed to

plausibly allege the existence of an unconstitutional NYPD policy or custom. A fortiori, plaintiff

has failed to plead that Kelly created or continued any such         policy. Along the same lines,
plaintiff has failed to plead any manner in which Kelly failpd to train NYPD officers."); Btydgq

v. Mancusi, 186 F.3d 252, 265 (2d. Cir. 1999) ("Of course, for a supervisor to be liable under

Section 1983, there must have been an underlying constitutional deprivation."). Accordingly,

Defendants respectfully contend that Plaintiffs' claims against Defendants de Blasio, Menin,

Silver and Bratton fail as a matter of law, and must be dismissed.

B.     The Second Amended Complaint fails to state a claim against                         Inspector
       Gershkovich

                As to Defendant Gershkovich, the Second Amended Complaint contains only

non-sensical allegations concerning him at paragraph20 and bare assertions lacking any factual

specificity at paragraphs 48 through 51, which, as such, are insufficient to state a claim under

Rule 8 of the Fed. R. Civ. P. and fail to satisfy the requirements of Iqbal and Twombly.




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                                            POINT VI

                       DBFBNDANT GERSHKOVICH IS ENTITLED
                       TO QUALIFIED IMMUNITY

               Even assuming the Second Amended Complaint does assert sufficient facts to

support a claim against him, Inspector Gershkovich is protected by the doctrine of qualified

immunity. Bradwav v. Gonzales,26 F3d 313 (2d Cir. 1994). The doctrine of qualified

immunity protects government officials "from liability for civil damages insofar as their conduct

does not violate clearly established statutory or constitutional rights of which a reasonable person

would have known." Pearson v. Callahan, 555 U.S. 223 (2009). The defense of qualified

immunity should be resolved at the earliest possible stage of the litigation. Saucier v. Katz, 533

U.S. 194, 201 (2001); see also Anderson v. Creighton, 483 U.S. 635,646 n.6 (1987) (concluding

that "qualified immunity questions should be resolved at the earliest possible stages of

litigation," either in a motion to dismiss or in a motion for summary judgment); Malley v.

Briggs, 475 U.S. 335,341(1936) (qualified immunity should be summarily judged if the officer

was not on notice that his conduct would be clearly unlawful). City Defendants are entitled to

qualified immunity if either (a) their actions did not violate clearly established law, or (b) it was

objectively reasonable for them to believe that their actions did not violate clearly established

law. Batson-Kirk v. City of New York,07 CV            1950 (KAM) (JMA),2009 U.S. Dist. LEXIS

44841,*27 (E.D.N.Y. May 28,2009).

               For the purposes of the defense of qualified immunity, the Court need only

consider those facts that were actually available to Inspector Gershkovich or could reasonably

have been perceived by him, at the moment he engaged in the challenged conduct. Lowth v

Town of                   82 F.3d 563, 567 (2d Cir. 1996). Inspector Gershkovich's stop of


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Plaintiff Camera's pedicab pursuant to a direction to "stop all pedicabs" in accordance with        a


compliance inspection was not only entirely lawful but also objectively reasonable, thus entitling

Inspector Gershkovich to qualified immunity.

                  As Inspector Gershkovich testified at the administrative hearing, on September

14,2013 he was conducting compliance inspections of pedicabs in Central Park together with

other DCA inspectors, Parks Department personnel and NYPD.officers. He was directed to

conduct the compliance inspections on that day by his supervisors at       DCA. Exhibit "4" at pp.

38, 69. They were conducting the compliance inspections of pedicabs because pedicabs are

licensed by DCA and they conduct compliance inspections of all businesses who are licensed by

DCA. Exhibit "A" atp.46. Inspector Gershkovich had conducted              such inspections in Central

Park at least one other time, as well as outside of Central Park on other occasions. Exhibit     "4"
at   p.   46-47. He had attended training sessions on how to inspect pedicabs and conducted the

inspections using a checklist that was provided to him. Exhibit   "A"   at p. 59-61.

                  In stopping Plaintiff   Camera on September 14, 2013, not only did Inspector

Gershkovich not violate any clearly established laws, but even          if he did, it was objectively
reasonable for him to believe that his actions did not violate any established laws given his

history of conducting such inspections and the direction and training he had been given by DCA

to do so. Accordingly, as his actions were within the reasonable scope of his duties as a DCA

Inspector, Inspector Gershkovich is protected by qualified immunity           Knoeffler v. Town of

Mamakating, 87 F. Supp. 2d322 (S.D.N.Y. 2000).




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                                                 POINT    VII
                            THE   SECOND AMENDED COMPLAINT
                            FAILS TO STATE A CLAIM AGAINST DCA,
                            THE PARKS DEPARTMENT AND NYPD.

                    The Second Amended Complaint must be dismissed as against DCA, the Parks

Department and NYPD because they are not suable entities. New York City Chater $ 396 sets

forth very clearly that "[a]ll actions and proceedings for the recovery of penalties foi               the

violation of any law shall be brought in the name of the city of New York, and not in that of any

agency, except where otherwise provided             by law." In addition, with       regard   to   actions

commenced pursuant to Section 1983, the Second Circuit Court of Appeals has explicitly noted

that   "[i]t   is well settled in this court that as a general matter, agencies of New York City are not

suable entities     in $ 1983 actions." Nnebe v. Daus,644F.3dl47,I58 n.7 (2dCir.2011) (citing

 enkins v            of New Y       478 F.3d 76,93 n. 19 (2d Cir.2007)). Accordingly, the naming of

DCA, NYPD and the Parks l)epartment as Defendants is improper.

                                                POINT     VIII
                            THE CLAIMS SET FORTH IN THE SECOND
                            AMENDED COMPLAINT ARE, IN PART,
                            TIME-BARRE,D

                    The applicable statute of limitations for actions brought in New York pursuant to

Section 1983 is three years.         Sherrard   v. City of Ne¡v Yprk" 2016 U.S. Dist. LEXIS 51044

(S.D.N.Y.        2016). Accordingly, Plaintiff is         time-baned from challenging any alleged

constitutional violations arising from the stopping of pedicabs prior to March 15,2013.




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                                              POINT IX

                       THE COURT SHOULD DECLINE TO
                       EXERCISE JURISDICTION OVER
                       PLAINTIFFS' STATE LAW CLAIMS

               For the reasons set forth above, City Defendants respectfully request that in the

event each of Plaintiffs' Federal claims are dismissed, any purported corresponding State law

claims be dismissed as   well.   Moreover, to the extent any of Plaintifß' purported State law

claims survive dismissal, Defendants respectfully request that the Court decline           to exercise

supplemental jurisdiction over them.

                                              POINT X

                       PLAINTIFFS' CHALLENGE TO THE
                       "REGULATION OF PEDICABS'O MUST BE
                       DISMISSED

               The claim that the regulation of pedicabs violates New York State Law fails to

state a claim and is time-barred. First, the claim that the regulation of pedicabs violates New

York State law must be dismissed for failure to state a claim. Plaintifß fail to speoify which

regulations of pedicabs they are challenging and which New York State law these regulations

allegedly violate. Accordingly, Plaintiffs' claim that the regulation of pedicabs violates New

York State law is insufficient to state a claim under Fed. R. Civ. P. Rule 8 and fails to satisfy the

standards set forth in Iqbal and accordingly, must be dismissed.

               Second, assuming arguendo, that Plaintiffs' challenge of the "regulations" was

sufficiently pleaded, to the extent that they are challenging the regulation of pedicabs set forth in

the Rules of the City of New York, added in200'7, the claim is time-barred.

               It is well-settled that challenges to quasi-legislative   acts such as the promulgation

of rules by an administrative agency    -   whether statutory or constitutional - should be brought


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pursuant to CPLR Article   78.   See   NY Cit), Health & Hospitals Corp. v. McBarnette,   84 N.Y.2d

194 (1994) (holding that regulations promulgated by State administrative agency is a quasi-

legislative act and should be reviewed in a CPLR Arlicle 78 proceeding); Stony Point v. State of

NY Dep't of     Finance. 107 A.D.3d 1211 (3d Dep't 2013) (holding that "[p]etitioners'

constitutional and statutory challenges to the validity of 9 NYCRR former 186-5.5 are attacks

upon 'a quasi-legislative act or decision made by an administrative agency' that are properly

advanced   in a CPLR article 78 proceeding"); Via Health Home Care v. NY State Dep't of

Health, 33 A.D.3d 1100 (3d Dep't 2006) (holding that a challenge to the validity of the State's

regulations governing the Medical recoupment process should have been advanced in a CPLR

Article 78 proceeding, which has a four-month limitations period). Such challenges aÍe subject

to a four-month statute of limitations. New York Civil Practice Law and Rules ("CPLR")       S 217;

Fed'n of Mental Health Ctrs. v. DeBuono,275 A.D.2d 557 (3'd Dep't 2000). Therefore, since

the regulations in question were added in2007, Plaintiffs are time-baned from challenging them.

               Finally, Plaintiffs' allegation that the manner in which the regulations were

enforced against them was arbitrary and capricious is also bound by a four-month statute of

limitations. Section 7803 of the New York Civil Practice Law and Rules provides for the

questions that may be raised in an Article 78 proceeding, which includes,

                      3.  whether a determination was made in violation
                      of lawful procedure, was affected by an error of law
                      or was arbitrary and capricious or an abuse of
                      discretion.. ..

              Accordingly, Plaintiffs remedy to challenge any alleged arbitrary and capricious

enforcement of the pedicab regulations against them is an Article 78 proceeding in which they

are again bound by a four-month statute     of limitations. CPLR $ $ 217, 7801 et seq. As the only

violations issued to Plaintiffs that are referred to in the Second Amended Complaint were issued


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in2013, Plaintiffs are now time-baned from challenging them. See Exhibit "B" at II48, 57 and

6t.

                                         CONCLUSION

               For the foregoing reasons, Defendants respectfully request that the Court grant

their motion to dismiss and dismiss the action it its entirety, with prejudice, together with such

other and further relief as the Court deems just and proper.

Dated          New York, New York
               March 7,2077



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